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                               EXHIBIT 2
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Proposed Object Recovery, RMS Titanic 2020

Marconi (Radio) Equipment
                                                                                                Bill Sauder
                                                                                          December 3, 2019

Thanks to Park Stephenson, Ken Marschall, and Jim Cameron for the CGI and wreck imagery that
appears in this report.

OBJECT        Radio Transmission Equipment.


RECOVERY
              High
PRIORITY

RATIONAL      Historically and technically significant artifacts in connection with the sinking of the Titanic
              and the new roll of radio in summoning assistance in times of crisis. This equipment proved
              beyond doubt the value carrying the expensive “Wireless System” on board.

DESCRIPTION   This proposal considers the recovery of a maximum of five electrical components in the
(OVERVIEW)    Titanic’s wireless system:

              The primary targets are:
                      1) Motor-generator set with disc discharger
                      2) the wall-mounted switchboards and regulators (2 of each)

              The secondary targets are:
                     1) Spiral Inductance
                     2) Tuning Lamp and Earth Arrester
                     3) Low Frequency Inductance

LOCATION      The targets are all contained in the former “Silent Room” of the Marconi Suite. This suite
              originally consisted of three rooms: Sleeping Accommodations, an Operator’s Room, and a
              Silent Room with soundproof walls to contain the noise made by the radio equipment. The
              Marconi Suite itself was contained in a steel deck house in the vicinity of First-Class cabins
              and Deck Officers’ accommodations.

              In almost all cases, the walls separating these compartments were wooden, and have now
              completely disappeared, rendering the interior of the steel deck house one large
              compartment.




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                     Location of Marconi “Silent Room” within Bow Section (Wreck ca. 1987)

FORMER        As mentioned above,
COMPARTMENT   the Marconi suite
CON-
FIGURATION
              originally consisted of
              three compartment
AND           separated by wooden
              partitions, now all
POINT OF      absent. This has left
ENTRY
              the equipment
              exposed in the former
              Silent Room (tinted
              pink).

              An overhead skylight
              orginally ventilated the
              sleeping quarters and
              operator’s office,
              tinted green in the
              drawing below. This
              has now become the
              prefered point of
              entrance into this part
              of the wreck.

              Although the Marconi
              space is immediately
              adjacent to the grand
              staircase well, I do not

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            think this can be used
            as an access point.
            There is an intact steel
            bulkhead separating
            the staircase with the
            target, with only two
            ordinary door
            appatures for access.




                              Entrance skylight marked with star. Looking forward.

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DESCRIPTION   All targets are within
AND           the former Silent
LOCATION      Room.
(DETAILED)
              The compartment has
PRIMARY
TARGETS
              a nominal (as built)
              overhead of 7’9”.




              The two suggested
              primary targets are on
              the former inboard
              wall.

              Motor-generator set
              with disc discharger:
              As the name suggests,
              this is a DC Motor
              driving an alternator
              (for radio use) and a
              disk discharger through
              a common shaft and
              mounted on a common
              bedplate. It is affixed
              to the steel deck by
              four ordinary bolts.
              There is a secondary
              electrical connection
              by two bus bars
              leading aft to
              additional equipment.




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            Wall-mounted
            switchboards and
            regulators (2 of each):
            These were the main
            electrical control
            boards for the power
            generation of the radio
            set. Last seen about
            2005, they were still
            attached to the
            remains of the wood.
            Today, they may well
            be detached from the
            wall (but still tethered
            by their small-diameter
            electrical cords




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Proposed Recovery Object – Radio Equipment




SECONDARY Because the
TARGETS   Primary Targets
          present serious
          challenges to
          recovery, three
          secondary
          targets are
          offered. Their
          modest size and
          light-weight
          connections to
          the remaining
          structures make
          them attractive
          alternatives to
          recovery.




           Spiral Inductance: This is located on the after wall and consists of a copper coil wrapped
           into a drum-shape. It is apparently only connected to its surroundings by light gauge wire.

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 Proposed Recovery Object – Radio Equipment


            Tuning Lamp and Earth
            Arrester: In essence, this
            is a lighting arrester. It
            consists of a stepped
            brass disk with 8
            terminals.




            Low Frequency Inductor:
            An adjustable coil
            designed to off-set the
            high-frequency
            capacitors. Also acts as an
            articulation frame for the
            warp drive dilithium
            crystals.




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 HAZARDOUS      The objects tinted in RED (mostly along the forward and outboard walls) were
 OBJECTS        constructed to contain large amounts of oil. They should not be disturbed on the
                possibility that they may leak oil, creating problems for recovery operations.




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